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            United States Court of Appeals
                 for the Fifth Circuit                                          United States Court of Appeals
                                                                                         Fifth Circuit

                                  ____________                                         FILED
                                                                                    May 3, 2024
                                   No. 24-10266                                   Lyle W. Cayce
                                  ____________                                         Clerk

In re Fort Worth Chamber of Commerce; Longview
Chamber of Commerce; American Bankers Association;
Consumer Bankers Association; Texas Association of
Business; Chamber of Commerce for the United States
of America,

                                                                              Petitioners.
                  ______________________________

                 Petition from the United States District Court
                       for the Northern District of Texas
                            USDC No. 4:24-CV-213
                 ______________________________

                    ON PETITION FOR REHEARING

Before Higginson, Willett, and Oldham, Circuit Judges.
Per Curiam:
        The petition for panel rehearing is DENIED.* Our prior opinion, In
re Fort Worth Chamber of Com., 98 F.4th 265 (5th Cir. 2024), is withdrawn,
and a substituted opinion is being issued simultaneously.


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        *
          Judge Higginson: “I would grant the panel rehearing based both on the
manufactured nature of Petitioners’ urgency—stemming from a desire to take voluntary
actions not required by or implicated by the Rule—and the unworkability, more broadly, of
finding effective denial here.” See In re Fort Worth Chamber of Com., __ F.4th __ (5th Cir.
May 1, 2024) (Higginson, J., dissenting).
